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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. ________________

  KAREN SMITH,

        Plaintiff,

                v.

  MEDICREDIT CORPORATION,

        Defendant.



              PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

                             (Unlawful Debt Collection Practices)



                                 PLAINTIFF’S COMPLAINT

        KAREN SMITH, Plaintiff, through her attorneys, KROHN & MOSS, LTD., alleges

  the following against MEDICREDIT CORPORATION, Defendant:

                                      INTRODUCTION

     1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692

        et seq. (FDCPA). According to the FDCPA, the United States Congress has found

        abundant evidence of the use of abusive, deceptive, and unfair debt collection practices

        by many debt collectors, and has determined that abusive debt collection practices

        contribute to the number of personal bankruptcies, to marital instability, to the loss of

        jobs, and to invasions of individual privacy. Congress wrote the FDCPA to eliminate
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        abusive debt collection practices by debt collectors, to insure that those debt collectors

        who refrain from using abusive debt collection practices are not competitively

        disadvantaged, and to promote consistent State action to protect consumers against debt

        collection abuses. 15 U.S.C. 1692(a) – (e).

     2. Plaintiff brings this action to challenge Defendant’s actions with regard to attempts by

        Defendant, a debt collector, to unlawfully and abusively collect a debt allegedly owed by

        Plaintiff, and this conduct caused Plaintiff damages.

     3. Defendant acted through its agents, employees, officers, members, directors, heirs,

        successors, assigns, principals, trustees, sureties, subrogees, lawyers, representatives,

        and insurers.

                                JURISDICTION AND VENUE

     4. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

        actions may be brought and heard before “any appropriate United States district court

        without regard to the amount in controversy.”

     5. Because Defendant conducts business in the state of Colorado, personal jurisdiction is

        established.

     6. Venue is proper pursuant to 28 U.S.C. 1391(b)(1).

     7. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.



                                            PARTIES

     8. Plaintiff is a natural person residing in Denver, Colorado, and is allegedly obligated to

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        pay a debt and is a “consumer” as that term is defined by 15 U.S.C. 1692a(3).

     9. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is a debt collector

        and sought to collect a consumer debt from Plaintiff which was allegedly due and owing

        from Plaintiff, and Plaintiff is a consumer debtor.

     10. Defendant is a national company with its headquarters in Columbia, Missouri.

     11. Defendant uses instrumentalities of interstate commerce or the mails in any business the

        principal purpose of which is the collection of any debts, or who regularly collects or

        attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

        due another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

     12. Defendant is a collection agency that in the ordinary course of business, regularly, on

        behalf of itself or others, engages in debt collection.

                                  FACTUAL ALLEGATIONS

     13. Defendant constantly and continuously places collection calls to Plaintiff seeking and

        demanding payment for an alleged debt.

     14. Defendant places approximately three (3) collection calls in a single day to Plaintiff

        seeking and demanding payment.

     15. Defendant constantly and continuously places collection calls to the number (720) 309-

        7972 seeking and demanding payment for the alleged consumer debt.

     16. Defendant fails to properly identify itself when placing collection calls by calling from

        blocked number and failing to leave a message.

                              COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
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     17. Defendant violated the FDCPA based on the following:

            a. Defendant violated §1692c(a)(1) of the FDPCA by contacting Plaintiff at a time

                and place known to be inconvenient.

            b. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                consequence of which is to harass, oppress, and abuse Plaintiff.

            c. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

                repeatedly and continuously with the intent to annoy, abuse, and harass Plaintiff.

     WHEREFORE, Plaintiff, KAREN SMITH, respectfully requests judgment be entered

  against Defendant, MEDICREDIT CORPORATION, for the following:

     18. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15

        U.S.C. 1692k,

     19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

        15 U.S.C. 1692k

     20. Any other relief that this Honorable Court deems appropriate.

                                 DEMAND FOR JURY TRIAL

    Plaintiff, KAREN SMITH, requests a jury trial in this case.




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  DATED: June 22, 2010                 KROHN & MOSS, LTD.



                                By: /s/ Nicholas J. Bontrager           _

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              VERIFICATION OF COMPLAINT AND CERTIFICATION

  STATE OF COLORADO

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